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9
10                   IN THE UNITED STATES DISTRICT COURT
11               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
13   JAMES MILLER, et al.,                   Case No. 19-cv-1537-BEN-JLB
14                               Plaintiffs, NOTICE OF APPEAL
15              v.                           Judge:        Hon. Roger T. Benitez
                                             Courtroom: 5A
16   CALIFORNIA ATTORNEY                     Action Filed: August 15, 2019
     GENERAL ROB BONTA, et al.,
17
                               Defendants.
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                         Notice of Appeal (3:19-cv-01537-BEN-JLB)
1           PLEASE TAKE NOTICE that Defendants-Appellants Rob Bonta, in his
2    official capacity as Attorney General of the State of California, and Luis Lopez, in
3    his official capacity as Director of the Department of Justice Bureau of Firearms,1
4    hereby appeal to the United States Court of Appeals for the Ninth Circuit from this
5    Court’s final Judgment and this Court’s Decision, issued on June 4, 2021 (Dkt. 115,
6    116).
7    Dated: June 10, 2021                           Respectfully submitted,
8                                                   ROB BONTA
                                                    Attorney General of California
9                                                   MARK R. BECKINGTON
                                                    Supervising Deputy Attorney General
10                                                  JOSE A. ZELIDON-ZEPEDA
                                                    Deputy Attorney General
11
12                                                  s/ John D. Echeverria
13                                                  JOHN D. ECHEVERRIA
                                                    Deputy Attorney General
14                                                  Attorneys for Defendants
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             Rob Bonta has succeeded former Attorney General Xavier Becerra as the
26   Attorney General of the State of California, and Luis Lopez has succeeded former
     Interim Director Brent E. Orick as the Director of the Bureau of Firearms. Pursuant
27   to Federal Rule of Civil Procedure 25(d), Attorney General Bonta and Director
     Lopez, in their respective official capacities, are substituted as the defendants in this
28   case.
                                                2
                             Notice of Appeal (3:19-cv-01537-BEN-JLB)
                                  CERTIFICATE OF SERVICE

Case Name:        James Miller et al. v. Xavier Becerra, et al.
Case No.          3:19-cv-01537-BEN-JLB

I hereby certify that on June 10, 2021, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
NOTICE OF APPEAL
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on June 10,
2021, at San Francisco, California.


                Robert Hallsey                                    s/ Robert Hallsey
                  Declarant                                           Signature
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